 

 

5 Case 7:19-mj-OO736 Document 1 Filed on 04/01/19 in TXSD Page 1 of 21 ` l
Case_: 1_:14-cr-00539 Document #: 45 Filed: 03/05/15 Pag¢ 1 of~ 21 PagelD #:177_v

'. UNITED STATES DISTRICT COURT
NORTHERN DIS-TRICT OF ILLINOIS
EASTERN DNISION

UNITED sTATEs oF AMEch
v. ,

DIEGO PINEDA SANCHEZ, 1
' a/k/a “Botas,” “Bo<`)ts,‘”' and
CARLOS PARRA-PEDROZA
` -a/k/a-“Walt,” “Walter,” “Walt Disney”
1 JOSE ABEL MENDOZA-PARRA,
_ a/k/a “Robm”
- MA`RIA _LoERA- ALVARADO;
a/k/a “Samys@m”
ERNESTO RUIZ-RAM]REZ,
MARIO HERRERA,
AN'I`HONY LEIVA,

 

. - QZTEQD@clo~cARO F`;

LUIS REYNA-TELL“EZ,
H;ECTOR cHAsz cuEvAs,. _
JU.AN cARLos NUNEZ GALsz, -
. JosE sANANToNIo, ~

PEDRO sAUcEDo-PALOMINOS,
0MAR LoPEz-cABRERA, '
VIRGIL DURBIN,

VALENTIN RoDRIGUEz,

'ALMA LORENA ORTIZ DE ROSAS VERA, _

- cAsMIRo ISAIAs-PADILLA, '
FELIX LEMUs-GUEVARA,

PEDRo URQUIzA-osoRlo,

Luls ARM-ANDo AcosTA vlchRRA,
JoEL EsTRADA,

HARRANAH sAMoRl,

GABmEL sALcEDo,

ToMAs sALGADo REYNA, ~

oscAR AcosTA,, ' j

FEDERIco BARRERA-PEREZ, _
EMMANUEL DIAz,' '

_ _JosE HERNANDEZ ocHoA, and '
ALFoNso NEVAREZ ' ‘

"+-.m-` Mz)-z 013@

' mce-LE\NENWEB£R §

Case No. 14 CR 539

MAG\STRATF. IUJR HRSU 1

Violation: Title 18, United States _ _
l Code, Seclions1956(a)(1)(A)(i), '
1956(a)(1)(B)(i),1956(h). `

SUPERSEDING lNDICTMENT

FlL’ED
MARX52.0156/

~ THOMAS G. BRUTGN
CLERK; U: S: D|STR|GT €OURT_

 

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co _ 7 -,`oNE-
'Th§ sPEcIAL FEBRUARY 2014 GRAND nJRY'charges: 4
1'. _ Beginning no later than in'or about 201-1 and continuing to at least in mt about b
1 - September 2014, in the Northem District'of Iliinois, Eastefn,ljivision, and`elsewhere, 4

‘ y DIEGo P.INEDA sANcHEZ, a`_/k/a “Boras, ” “Boots, `” '
cARLos PARRA-PE-DRozA, a/k/a “wane'r,” “wan Disney,” “wiuy,” “Don walr,’_' “Ary
' JosE ABEL mNDozA-PARRA, anda“Robin,"
MARIA LoERA ALvARADo, a/k/a “sainys@m”
ERNEsTo_RUI_z- RAMIREZ,
MARIo HERRERA,
ANTHONY LEIVA
1 TEODocIo cARo, “"“"i
Ltns'REYNA-TELLEZ,
HEcToR cHAVEz ,cUEv_As,
mAN cARLos ¢NUN,EZ GALVEZ,
JosEsANANToNIo,
PEDRO sAUcEDo-PALONm~Ios,`
oMAR LoPEz-cABRERA,
' vmclL DURBIN,
. , vALENTm RODRIGUEZ,
ALMA LORENA olile DE RosAs vERA,
cAsMIRo -Is`AlAs-PADILLA,
FELIX LEMUs-GUEVARA,
_ PEDRo UR_QUIzA-osomo
LUIs ARMANDQ A_.cosTA vIZCARRA,
JoEL E`STRADA,
HARRANAH sAMORI,
, GABRIEL sALcEDo,
ToMAs sALGADo REYNA,
oscAR AcosTA,
FEDERICO BARRERA-PEREZ,
. EMMANIJEL 1)1Az,
JosE HERNANDEZ ocHoA, and
ALFoNso NEVAREZ,

defendants hercin, did conspire with each other and with others known and unknown to the

` ,-G'randJury:

 

a. to knowingly conduct and attem'pt to conduct a J1inancial transaction

involving proceeds of a specified unlawful activitv, namely, the felonious buying and selling and

 

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otherwise dealing in a-controlled substance, knowing that the property involved in the transaction
represented-the proceeds of some form of unlawful activity, with the intent to promote`the 4 4
-' carrying on of the specified unlawful activity, in violation of Title 18, United States code,
- seenon_1956(a)(1)(A)(i); v d '
`b. . .'to knowingly conduct ~_and attempt to conduct a financial transaction
involving proceeds of a specified unlawful activity,-namely, the felonious buying and selling and
" otherwise dealing in a controlled snbsianee, knowing that the properly involved in the transaction
represented the proceeds of some form of unlawful activity, and that the transaction was
designed, in whole or in part to conceal and disguise the nature, the location, the source, the -
n ownership, an_d the control of the proceeds o'f the specified unlawful activity, in violation of Title
- 18, United States Code, Section l956(a)(l)(B)(i); d . v
-c. to knowingly transport, transmit,- and transfer, and attempt to knowingly `
tiansport, transmit, and'transfer, a monetary instrument and funds froln a place in the-United
__ States to and through a place outside the United States with the intent to promote-the carrying on '
.of a specified unlawful activity, namely, the felonious buying and selling land otherwise dealing
g in a controlled substance,' in' violation of Title 18, United States Code, Secnon`1956(a)(2_)(A);
and l . , _' _ . w
7 7 d. to knowingly transport, transmit, and transfer, and attempt to knowingly
transport,`ti'ansmit, and transfer, a monetary instrument and'funds from a place.in the United
'States to and through a place outside the United States, knowing that the_ property involved' ln a
financial transaction represented the proceeds of some form of unlawful activity, namely, the
l felonious buying and selling and otherwise dealing' m a controlled substance, and lmowing that

such transportation, .transrnission, and transfer was designed m whole or in part to conceal and

 

v .~

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' disguise the_nature, the locatio_n, the source, the_ownership, and the control of the proceeds of the

l ' specified unlawful'activity, in violation ofl Title 18, United States Code, Section 1956(a)(2)(B).

Uvewiew of the Con.spiracy

121 It was part of the conspiracy that,»from no later than in or about 2011 to at least in

2 or about Sep_tember 2014, DIEGO PINEDA SAN_CI-IEZ and CARLOS PARRA-PED_ROZA led l
' _ a Mexico-based money laimdering organization (“MLO”) that was responsible for transporting,
7 transmitting, and transferring large amounts of United States currency derived_fr`om' the buying
and selling of controlled substances '(“drug proceeds’_’) froin`the United _States to Mexico._

- .DIEGO PINEDA sANcHEz and CARLOS PaRRA-PEDROZA arranged io' have drug » '

b proceeds collected from various coconspirators throughout the Unites States; to use those drug

proceeds to pnrcha`_se scrap and she goid; and to sell that gold t_o‘U;s.-based cash-'ror-gold'
companies, which in turn directed payment for those sales'to CARLOS RARRA-PEDROZA and

. other coconspirators in Mexico. DlEeo ` PINEDA sANcHEZ and CARLos PARle
l '_PEDROZA also arranged to have drug proceeds wire transferred to a U. S. -based bank account

~ controlled by a Mexican brokerage iirm.

Ihe Delive)y of United.Sttzte's Currenc;v to Third Parties
/ - . .

3. _It was further part of the conspiracy that DIEGO PINEDA SANCI-IEZ' and others

negotiated agreements with various Mexico-based individuals who owned and controlled drug

proceeds located in the United States (“drug proceeds owners”) to have the MLO transport,

' - transmit, and transfer .the dnig proceeds from various locations 111 the United State`s, including the

Chicago area, to Mexico, on behalf of the drug proceeds owners.
4. lt was further pari of the conspiracy that, alter DrEGo PINEDA sANcHEz '
negotiated the agreements with the drug proceeds owners, DIEGO PINEDA SANCHEZ,

cARLos PARRA-'PEDROZA,~ losE ABEL MENDozA-PARRA, MARIA LoERA
/ . , . .4 ~`

 

 

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:AL;VA_RADO, and others directed, or caused others to direct, various cti-conspirators (the_ “drug
money couriers”) to deliver large amounts of drug proceeds to_ various individuals (the “drug _
money collectors”) 111 the Northem District of lllinois, and elsewhere, knowing that the property '
involved 111 the deliveries represented the proceeds of some form of unlawful activitya~'l'he drug 1 l
\_\_`__`.;\:`}

\ney-c_`emiers~include ERNESTO RUIZ-RAM]REZ, MARIO HERRER_A, A_N'I'HONY

     

' LElvA, v

 

'@D®CI®MRO\ LUI_S REYNA_-TELLEZ, HECT_OR- CHAVEZ CUEVAS, JUAN
CARLOS NUNEZ GALVEZ, JOSE SANANTONIO, PEDRO S_AUCEDO-PALOMINOS,

n ` . iv .OMAR LOP.EZ-CABRERA, VIRGIL _DURB]`N, VALEN'I`~IN `RODRIG_UEZ, ALMA LORENA

' toR_T‘iz DE ROSAS v`ER»A,v cAsi/nRo' rsAlAs-PA~DILLA, FEle LE_'MUs-GI:JEVARA,;
rEDRo URQUle-osomo, LUls» 11111'111/11\1§11)0~‘l AcosTA Vi_chRRA, JoEL Esirlttil)A,v '
. HARRANAH .sAM_oRi, GABRIEL sALcEDo," roM'As sALGAi)o REYNA, oscAR
_AcosrA, »FED_ERlco BARRERA-PEREZ,. ElvilleNUEL DlAz; losE imRNANDEz ,
_o'cHoA, ALFoNso NEVAREZ, and others _ ` ' t
5. It was further part of the conspiracy that, between 2011 and September 2014, '
l leEGO PINEDA SANCHEZ, CARLOS PARRA-PEDROZA, JOSE ABEL M]:`,Nl)OZA-'.l v
.PARRA, MARIA LOERA ALVARADO, and others, through telephone calls and electronic
messages, insu'ucted, or caused others to insuruct, drug money collectors to collect drug proceeds l '
_;_ ii‘om the drug money couriers. The drug money collectors included lndividual A, undercover _
__ law enforcement agents posing as drug'money collectors, and other U. S. -based individuals. On b
or about Ap'til 26, 2013, Individual A began cooperating with law enforcement
_ 6. It was further part of the conspiracy that DIEGO PINEDA SANCHEZ, CARLOS _
" ' PARRA-PEDROZA, JOSE ABEL MENDOZA-PARRA, MARIA LOERA ALVARADO, and-
the drug proceeds owners caused the drug money couriers to use code names, code words, and _-

particular telephone numbers to arrange covert deliveries of drug proceeds to the drug money
‘ . . ' :5 _ d y 4 l ` , ‘ '. " .

 

 

 

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' ..collectors. DIEGO PINEDA SANCHEZ, CARLOS PARRA-PEDROZA, JOSE ABEL

MENDOZA_-PARRA, MARIA LOERA ALVARADO, and others communicated, or caused

others .to communicate, these telephone numbers and code names to the drug money couriers and
drug money collectors. -
7. ’ It was further part of the conspiracy that the drug money couriers and other co-

conspirators acting on_ their behalf spoke to the drug money collectors by telephone to arrange

lthe delivery of drug proceedsA During`tl'iese calls, the drug»‘in_oney' couriers and other coa l
_- conspirators acting on their behalf used and responded to code words and code names, which _

' code names were provided by the Mexico-based co-_conspirat_ors. The drug money couriers otten-
, coordinated with Mexico-based co-conspirators, including DIEGD PINEDA SANCHEZ,

CARLOS PARRA-PEDROZA, JOSE ABEL MENDOZA-PARRA, MARIA LOERA 4

ALVA_RADO, and the drug proceeds owners, concerning the timing of the deliveries of the drug
proceeds and the amounts of proceeds to be delivered

` "8'.' ` It was further part of the conspiracy that the `drug money couiiei"s delivered the
drug proceeds in a covert manner to the drug money collectors at parking lots, side streets, and

\

other locations in the Northern District of lllinois, knowing that the property involved in the

deliveries represented the proceeds of some form of unlawful activity. 'I:he drug proceeds were

generally transferred in increments well exceeding $10,000.

9.' 1 It was further part of the conspiracy that ii'om May 2013 through September 2014, ' ' ' 1
defendants and other co-conspirators delivered, attempted to deliver, or caused to b'e delivered

approximately $4.6 million in drug proceeds to Individual A and undercover law enforcement

agents,'thereby concealing and disguising the nature,' the location, the source, theownership,»a`nd'

the control of the drug proceeds. `

 

 

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rita Purchase and Resale ~chcld_

_ 10,-- `~ lt WaS further p_art Of the conspiracy that DIEGO P_INEDA SANCHEZ, CARLOS‘ * » 1
' " PARRA-PEDRo_zA JosE ABEL MENDozA-.PARRA, and other coconspirators directed

t individual A and U.- S. -base_d co-c_onspirators to use the drug proceeds that they collected ii'om

the drug money couriers to purchase fine and scrap gold. DIEGO PINEDA SANCHEZ,

`CARLOS PARRA-PEDROZA, JOSE ABEL MENDOZA-PARRA and others directed .

Individual A and U. S. -based cti-conspirators to use drug proceeds to purchase the gold to conceal

and disguise the nature, location, source, ownership, and control of the drug proceeds.

' -11. lt vvas nirti_icr part or the conspiracy that DiEGo PINEDA sA_NcHEz, cARLos~ '

PARRA-PEDROZA, IOSE ABEL MENDOZA-PARRA, and other co-conspirators directed ~ '/

4 Individual A and U. S. -based cio-conspirators to send the gold that they purchased to cash-for-

gold eompanies, thereby concealing~and disguising the -iiatu_i'e, location, source, ownership, and -

conuol of the drug proceeds-, and facilitating th_e transfer of drug proceeds earned from drug sales

’ .- ' i_n the United States to the drug proceeds owners.

.12'. .It was further part of the conspiracy that, at the direction of DIEGO PINEDA

SANCHEZ, CARLOS PARRA-PEDROZA, JO_SE ABEL MENDOZA-PARRA,_ and others, l

-Individual A and U. S -based co-conspirators sent the gold that they purchased with the drug `

proceeds to cash-for gold companies, including a F-lorida-based refinery (“Re_iincry A”-) and a.' 1

'C_aliforn'ia-based jewelry store (“Reiinery B’.’), using Federal Expres_s stores located throughout
~ the Northern District of lllinois. For many of the gold shipments, CARLOS PARRA-PEDROZA

" _ caused Individual A to create and use a fictitious name and business when identifying the sender

on Federal Express shipping documents
'\ .

13i v It was further part of the conspiracy that between no later than August 201 1 and at

"lea_st May 2014 DIEGO PINEDA SANCHEZ, CARLOS PARRA-PEDROZA, JOSE AB_EL. . -\ ' l

/‘

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'MENDOZA-PARRA, and other cti-conspirators sold, ord caused others to .sell, approximately
$98.7 million worth of gold to- Refinery A, _and approximately $322,000 worth of gold to
Reiinery B. n

"14. It was iiirther part of the conspiracy that CARLOS PARRA-PEDROZA and other
coconspirators directed Reiinery A and Reiinery B to send payments for the gold shipments
received ii'om 1ndividual A and U. S. -based coconspirators to CARLOS PARRA-PEDROZA
- and other co-conspirators in Meiiico. v l 4

Wire Transfers

15. It was fin'ther part of the conspiracy that, between May 2014 and September 2014,
_ DIEGO PINEDA SANCHEZ, CARLOS PARRA-PEDROZA, JOSE ABEL MENDOZA-
PARRA, and other co-conspirators directed Individiial .A and an undercover agent to wire
transfer drug proceeds collected &om the drug_ money couriers to Citibank bank account number

' xxxx5306 ;(“Banit Acconnt 'A” ; which is a U.s.-bascd cottos_pondcnt bnnk account controlled

by a Mexican brokerage firm,_ 1`n order to conceal the nature, location, source, ownership, and', '

control of the proceeds, and to facilitate thc transfer of drug proceeds earned from drug sales in
' the United States to the drug proceeds owners. ~At the direction cf DIEGO.PINEDA»SANCl-IEZ,
' - CARLOS PARRA-PEDROZA, JOSE AlBEL MENDOZA-_l_’ARRA, and other co-conspirators, '
Individualv A and undercover .agents made multiple wire transfers totaling approximately

$588,000 to Bcni< Acconnt A.

 

 

 

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v 16.‘ It was further part of the conspiracy that the defendants and others known and
unknown to the Grand Jury did conceal and hide and cause to be concealed and hidden,_ the
'purposes and the acts done m furtherance of the conspiracy, through the use of codenames,_
coded lan'guage, counter-smveillance, and other means to avoid detection and apprehension by
_ - law enforcement authorities l

In violation of Title 18, United States Code, Se_ctions 1956(h) and 2

 

 

._ __._,._ "

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COUNTS_TWO THROUGH THJRTY-S]EX

M_,__,__.»»-*

L,_¢v'»:¥""

The SPECIALl FEBRUARY 2014 GRAND JURY further charges:
On or about the dates set - forth below, in the Northernl District of Illinois," Eastem ' `
Division,'and.elsewhere, the defendants, as set forth below,.knowing_ly conducted and attempted

to conduct the following financial transactions listed helow, namely, the delivery of United

. States currency to third parties, in or aii`ec'ting interstate and foreign commerce, each' such

financial transaction constituting .a separate count, which financial transactions involved the
proceeds of a specified unlawful activity, namely, the felonious buying, selling, and otherwise
dealing in a controlled substance, knowing that the transaction was designed in whole and in part
to conceal and disguise the nature, location, source, ownership, and control of the proceeds of the
specified unlawful activity, and that while conducting such financial transactions, the defendant

knew that the property involved m the iinancial transactions represented the proceeds of some

 

 

 

 

 

 

 

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'>. ._-7-__'_$1.€\

  

TEODOCIO CARO¢ *

 

  
 

_ form-of unlawful activity:
COUNT .DEFENDANT " 'DATE OF _F[NANCIAL _
' ' .FINAN_CIAL 1 TRANSACTION »
. ' : TRANSACTION _
Two DIEGO PINEDA SANCHEZ, _`lune 5, 2013 ' delivery of '
~ _ CARLOS PARRA-`PEDROZA, and ~ approximately
' VALENT~}N RODRIGUEZ .$110,000 `
Three CARLOS PARRA-PEDROZA and ~ b June_ 10, 2013 delivery of
-VALENTIN RODRIGUEZ ` ` approximately
` » ` ' _ $30, 010
@)ur JuneTl:l`§§Z`()”}lf@“§:m dehveryaof?@"?

 

,.,...._ .., ,‘~~ .,

v mea$i»l°“l" Ma-

 
 

 

 

 

. delivery of

six DIEGO Fn~IEDA sANCHEz, _ _July 10, 2013
CARLOS PARRA-PEDROZA, and , approximately
_ cAsMIRo rsArAs-PADILLA s139,470

 

 

 

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DATE OF

~FINANCIAL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COUNT ' DEFENDANT4 _
' ' _FmANcIAL TRANSACTION
- ' » 'TRANSACTION '
Seven DIEG_O PINEDA SANCHEZ, ' "July 16,‘ 2013 delivery of ,
CARLOS PARRA-PEDROZA, and . approximately -»
_ JOSEHERNANDEZ OCHOA _ $29,990
night cARLos PARRA-'PEDROZA and Ju1y24, 2013 delivery of
~ HECTOR CHAVEZ CUEVAS ' _ approximately
' ' ' _ - . . $200,780
Nine CARLOS PAR_RA-PEDROZA, September 11, attempted delivery
JOSE ABEL MENDOZA-PARRA, 2013 of at least $150,000 '
_ ` and _ANTHONY LEIVA. _' ' ' » '
Ten CARLOS PARRA-‘PEDROZA,' 'September 13, delivery of
JOSE ABEL N[ENDOZA-PARRA, 2013 approximately _
and MARIO HERRERA ' . $'100,220
Eleven CARLOS PARRA-PEDROZA, -Septemb_er 20,_ delivery of -
` ` JOSE'ABEL MENDOZA-PARRA, t 2013 ~ ' approximately
- and PEDRO URQUIZA-OSORIO ' . . ' $50,000
.Twelve '- CARLOS PARRA-PEDROZA, -September 27, ' delivery of
' JOSE ABEL MENDOZA-PARRA, 2013 approximately
PEDRO SAUCEDO-PALOMINOS, $120,000 '
. and FELIX LEMUS-GUEVARA 5 _ .
Thirteen . CARLOS'PARRA-PEDROZA, - October 11, 2013 delivery of
- ` ` JOSE ABEL'MENDOZA-PARRA, . ° " approximately
and LUIS ARMANDO A`COSTA $89,980
Fourteen DIEGO PINEDA SANCHEZ, _ October 24, 2013 attempted delivery
’ CARLOS PARRA-PEDR'OZA, _ ofapproximately "
JOSE ABEL MENDOZA-PARRA, $100,0_75-
, . and TOMAS SALGA_DO REYNA . a _
' Fifteen CARLOS PARRA-PEDROZA, ' November 7, 2013 attempted delivery -
- JOSE ABEL MENDOZA;PARRA, ' . of approximately
' MARIO HERRERA, and , $1705000 '
. 1 PEDRO SAUCEDO-PALOMINOS _ . 4
_ v Sixteen DIEGO PINEDA SANCHEZ, December 10, delivery of
' ' 4 - CARLOS -PARRA?PEDROZA, , 2013 ` ` approximately
._ JOSE ABEL MENDOZA-PARR_A, ' $50,.020
and'ERNESTO` RUIZ-'RAMIREZ v f
_' Sevent_een' CARLOS PARRA-PEDROZA, December 12, delivery of .
/ ' j JOSE ABEL MENDOZA-PARRA, 2013 ' approximately
' and - ~ .. ' v $20,000
.TUAN CARLOS NUNEZ GALVEZ . .

 

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JUAN CARLOS NUNEZ»GALVEZ '

 

 

'COUNT DEFENDANT DATE OF_ FINANCIAL
FINANC_IAL TRANSACTION ’
. . , ` TRANSACTION 7 `
Eighteen CARLOS PARRA-PEDROZA," January 13, ?2014 y delivery of
' JOSE ABEL MENDOZA-PARRA, ' - ' approximately
land JOEL ES'-I'RADA - $62,000
Nineteen DIEGO PINEDA SANCHEZ, . January 14, 2014 delivery of _
` CARLOS PARRA-PEDROZA, and - approximately
, JOSE ABEL MENDOZA-PARRA $66,990
Twenty ` CARLOS PARRA-PEDROZA, » _ January_ 17, 2014 delivery of
_ JOSE ABEL MENDOZA-PARRA/, ~ approximately
and ERNESTO RU_IZ-RAM`IREZ `$107,280
Twenty- DIEGO PINEDA SANCHEZ, January 22, 2014 attempted.delivery
One ' _ CARLOS PA_RRA'-PEDROZA, and approximately
` GABRIEL SALCEDO _ b 3110,000
rwency- cARLos PARRA-PEDROZA and rantu 22, 2014 delivery of`
Two OMAR LOPEZ-CABRERA approximately
4 ' -_ ` - ` $150,000
'Twenty- r_ CARLOS PARRA-PEDROZA and February 27, 2014 delivery of
_Three _' HARRANAH SAMORI ' approximately
4 ‘ Twenty- ` DIEGO PINEDA SANCHEZ, k ` 'March 26, 2014 delivery of
` Four ' »CARLOS PARRA-PEDROZA,.and ' approximately
_ ALFONSO NEVAREZ $10,280
' Twenty- DIEGO PINEDA SANCHEZ,' March 27', 2014 j delivery of _
Five CARLOS PARRA-PEDROZA,.and ' approximately
` EMMANUEL DIAZ ` . $37,220
, Twenty-- DIEGO PINEDA SANCHEZ, _ March 31, 2014 delivery of `
Six CARLOS PARRA-PEDRO_ZA,- and approximately
_ _OSCAR ACGSTA . $l'00,020 v
Twenty- _ CARLOS PARRA-PEDROZA and June 25, 2014 delivery of .
Seven ALMA LORENA' ORTIZ DE ' approximately
_ ROSAS VERA ` . 7 $80,000
Twenty- -CARLOS PARRA-PEDROZA and 4June 2~5,~-=2014 _~- attempted delivery . -
Eight ALMA. LORENA ORTIZ DE ` ' . of approximately
' ROSAS VERA ' _ _ $59,45_2 4 -
Twenty- CARLOS-PARRA-PEDROZA and July 16, 2014 delivery of '
Nine JUAN CARLOS NUNEZ GAL'.VEZ ' approximately
b ' _ _ ` $62,3 50 _ `
Thirty CARLOS PARRA-PEDROZA and July 23, 2014 attempted delivery

of,ar least $100,000

 

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coUNT .

 

 

 

 

 

 

 

 

 

DEFENDANT -* DATE OF _ FINANCIAL .4 `_
- - ' FINANCIAL _ TRANSACTIO_N - - -
. _ , TRANSACTION 1 - ' '
Thirty- DIEGO PINEDA SANCHEZ, July 25', 2014 delivery of ` -
one ‘ -cARLoS`~PARRA-PEDROZA, and ‘ ' k approximately
, ~ LUIS REYNA-TELLEZ $143,980
Thirty- "DlEGo PlNEDA-sANCHEz and ~ ' August 5, 2014 delivery of
Two MARIA LOERA ALVARADO approximately
" - . - . ' $132,000 _
. rhirty- » ' DIEGO PINEDA sANcrlEz, ' August s, 2014 ' delivery of'
Three ` _ CARLO_S `PARRA-PEDROZA, and ' t approximately
` FEDERICO BA_RRERA'-PEREZ . , . $100,000 .
Thirty- CARLOS PARRA-PEDROZA and August 14, 2014 attempted delivery
Four _' LUIS REYNA-TELLEZ - ‘ of approximately '
' . ~ y $210,960
`Thi'rty- CARLOS PARRA-PEDROZA,,` August 26, _2014 . attempted delivery `
Five. ERNESTO RU'IZ-RAMREZ,' and of at least $100,000 _
`JOSE SANANTONIO _ ~
' Thirty-Six ‘ CARLOS PARRA-PEDROZA'and - August' 28,/ 2014 delivery of
» ‘ leGIL mimle - approximately
'. $140,000

 

 

 

. . All ip violation of ritle 18, United states code, seetiope l9_5`6(o)(l)(a)(i), and 2. . -

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B.S€ 7.19-
SB.S€. 1.14-

rhe sPECiAL ,FEBRUARY 2014 GRAND IURY atrther eherges:» v

-on_ or about the dates set forthv below, in the Northern District of villi_rtoie, Eastem. '
Division, and elsewhere,' the defendants, as set forth below, knowingly conducted the-folloudng v
financial transactions listed below,_ namely, the sale:of quantities `of gold to Retinery A and
.Retinery B,' in or affecting interstate and foreign commerce, each such financialtran'saction
constituting a separate count,4 which financial transactions involved the proceeds 'of'a` specified-
linlawiiil`activity, namely,' the felonious buying, selling, and otherwise dealing in a controlled n
t substance, (i) with the intent to promote the carrying on of the specified unlawful activity and (ii) j

lkr_iowing__ that the transaction was designed in whole and in part to conceal and disguise the l

n nature, location, source, ownership, and control of the proceeds of the specified unlawiiil- v
activity, and that while conducting such financial transactions, the defendant knew that the ` -

property involved in the financial transactions represented the proceeds of some form of "

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coUNTs TmRTY-sEvEN '_rHRoUGH FirTY-EIGHT

 

 

 

 

 

 

 

 

unlawful activity: _ -
COUNT DEFENDANT _DATE OF FINANCIAL `
~ FINANCIAL TRANSA'CTION
_ . v TRANSACTION `
Thirty- DIEGO PINEDA SANCHEZ and lurie 5,~2013 _ sale of h
Seven CARLOS PARRA-_PEDROZA 4 approximately 808.6
~ ’ grams of gold to
j , " ' _` . _ Renrtery A
Ibirty- . DiEGo PINEDA sANcHEz and ~ lime 7, 2013 sale of
Eight CARLOS PARRA-PEDROZ_A ' approximately 2,342
§ - - ' grams of gold' to
` - ` ReEnery ’A
Thirty-Nine CARLOS PARRA-PEDROZA June 13, 2013 sale of
v - approximately
622.07 grams of
gold to Reinery A

 

 

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DEFENDANT' 1 _ --......~.-. ».

DATE OF

FINANCIAL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COUNT t .
' FINANCIAL - TRANSACTlON
' ` . - TRANSACTION
Forty v, CARLOS PARRA-PEDROZA June 17, 20`.13 _ sale of .
1 ` - ` 4 approximately 54'.15
, ` ounces of gold to
_ . . ' _ - _ ~ . _Rerii_iery A1
Forty-One CARLOS PARRA-PEDROZA June 18, 2013 sale of
~ approximately,14
ounces of gold to `
t d _ -' t Reanel'y A .
’ Forty-Two, . CARLOS PARRA-P_EDROZA - lime 27, 2013 sale o_f_` v
' " ' approximately 6,622
grams of gold to'
v . _ . Retinery A
Forty- DIEGO PINEDA SANCHEZ and July 12, 2013, to .sale of _ ,_ .
Three CARLOS PARRA-PEDROZA ` -July 15, 2013 approximately 3 ,248
` grams of gold to
_ . `. . _ b R'etinery.A
Forty-Four' DIEGO PINEDA SANCHEZ and _July 18, 2013 sale.of
' ' CARLOS PARRA-PEDROZA ` approximately 22
ounces of gold to
_ ' _ Retinery _A
-Forty-Five CARLOS PARRA-PEDROZA " ' July 30, 2013 sale 'of
' ` ' approximately»4,435
grams of gold to --1
. . . ~ . `Reiin`ery A '
Forty-Six CARLOS PARRA-PEDROZA ' b September 17, 2013 sale of _ _ l_
, and - ' ~ approximately `2,199 '
JOSE ABEL MENDOZA-PARRA` grams of gold to '
. ' - _ Retinery A
_Forty- ' CARLOS PARRA-PEDROZA `S`eptember-24, 2013 sale of ' _ -
Seven and ' w , _ approximately 1, 124
- ' JOSE ABEL MENDOZA-PARRA b grams of gold to
l ` Refinery A
4Forty-Eight ~CARLOS PARRA-PEDROZA October 2, 2013 sale of .
~ . and ` ` approximately 2,684
. JOSE ABEL MENDOZA-PARRA grams of gold to '
, .Reiinery A
-_ lForty-Nine CARLOS PARRA-PEDROZA October 17,`2013 sale of
` 1 and . approximately 2,093
JOSE ABEL MENDOZA-PARRA grams of gold to
1 - -` Reiinery’_A

 

 

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83§€6: 7126` -mtj-06d65736961)d%616#th(1621t ¢115 Ei'li§: %'§/3§16%/1%;61§3 135 6162_161;3%% 111)6 #6192
COUNT DEFENDANT DATE»OF FINANCIAL
1 1 ~ ' FINANCIAL 1 1 TRANSA§TION
1 ~ . 1 `TRANSACTION' .
' . Fiity _ , - DIEGO PINEDA SANCHEZ, "Dec_emb'er'lZ, 2013 sale of b
~ ' ` CARLOS PARRA-PEDR_OZA,- approximately 1, 181 '
and _ grams of gold to '
JOSE'ABELMENDOZA~PARRA ._ » , , Refinery A
, _ lFitty_-One CARLOS PARRA-PEDROZA December 171, 2013 sale of
1 and ' 1 - 1 approximately 482
JOSE ABEL MENDOZA-PARRA __ -grams of gold to
_ 4 . Refinery A,
FiRy-Two CARLOS PARRA-_PEDROZA ' January 15, 201_4 sale _of . . .
1 ~ ` and 1 . ' approximately 47 ,
JOSE ABEL MENDOZA-PARRA ` ounces of gold to
' » " 1 ` d _ v . Refinery A
Fitty-.Three DIEGO PINEDA SANCHEZ, January 16, 2014 ` sale of `» _
1 CARLOS PARRA-PEDROZA, ' approximately 52 _ '
and ounces of gold to
JOSE ABEL MENDOZA-PARRA ‘_ _ - Refinery A ' '
Fiity-Four CARLOS PARRA-PEDROZA _ January21, 2014 ' . sale of ' `
1 § and “ _ ` approximately 2,550 '
JOSE ABEL MENDOZA-PARRA ' . grams of gold ito
1. . 1 _ - Re§n¢ry A
Fiity-Five. CARLOS PARRA-PEDROZA __January 24,2014 sale of ' _ 4 .
1 » .- . ` approximately 3,528" 1
1 grams of gold to
' _ - ~ _ Refinery A
Fiity-Six CARLOS PARRA~PEDR_OZA March 12, 2014 _ sale of ' _ _
. _ ' . l approximately 76 z »
ounces of gold to
1.- ' 1 ` t , ` 1 t Refinery B- `
k Fifty-Seven DIEGO PINEDA SANCHEZ~and ` March31., 2014 sale of . `
7 ' ' '» ` CARLOS PARRA-PEDROZA ~' ' - approximately 35 ~ '
~ ' ounces of gold to
~ /1 ~ 4 z ~ _1 . ' Refinery B
_ -Fiity-Eight CARLOS PAR_RA-PEDROZA . 'April 7, 2014 sale of _ , .
' 1 _1 approximately .74.8,
ounces of gold bars
_ toRetinery`B '

All in violation of Title 18, United States Code, Sections 1956(a)(1)(A)(i) and (B)(i)`, and

_16.

 

 

 

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COUNT§ FIFTY-NINETHROUGH SIXTY-THREE
4'ii_io sPECiAL FEBRUARY 2014 GRAND JUvaurthei onaigost 2 '
on or about the dates not forth bo1ow, in the North_orn Disniot of 'minois, Eastoni
n Division, and elsewhere, the defendants, as .se_t forth below, knowingly conducted the following
financial transactions listed helow, namely, the wire transfer of money to Citibank bank account
number XXXXSS_06 (“Bank Account A”_, in or affecting interstate and foreign commerce, each
such'iinancia'l transaction constituting a-sepa_rate-count, wh_ichlfinancial transactions involved the
proceeds of a specified unlawful activity, namely, the felonious buying, selling, and otherwise .
dealing in a controlled_substance, (i) with the intent to promote the carrying on of said specified
uninwftn‘ activity and (ii) knowing that the uansaotion was designed in whole and in part to
conceal and disguise the nature,- location, source, ownership, and control of the proceeds of said
speciiied unlawful activity, and that while conducting such financial transactions, the defendant

knew that the property involved in the iinancial transactions, represented the proceeds of some

 

 

 

 

 

 

 

 

form of unlawful activityi _
COUNT . DEFENDANT . DATE OF FINANCIAL - _
. _ ' FINANCIAL ` TRANSACTION
TRANSACTION, ' j
Fiity-Nine CARLOS PARRA-PEDROZA - June 25, 2014 y wire -transfer_of
' . ~ approximately
` 1 $76,800
` SiXty CARLOS PARRA-PEDROZA` July 17, 2014 . ~ Wire transfer of
' ' ' - . . , ` ' approximately
' ' ` ' ` . 1 ' $59,856 ` -
Sixty-One DIEGO PINEDA SANCHEZ and July 25, 2014 ` wire transfer of
' CARLOS PARRA-PEDROZA ' ` 1 approximately
_ _ - _ _ ‘ '$138,221
Sixty-Two DIEGO`PINEDA SANCHEZand ' August 8, 2014 '_ wire_transfer-of
CARLOS PARRA-PEDROZA ` approximately
` ~ $96,000

 

 

 

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COUNT .DEFENDANT _ `- 'DATE OF .FINANCIAL 2 - ',» »_ .

_ .2 . _ . . ' .:’FINANCIAL _ ' 1']."RANSAC'TION'A "

SiXty- _ - CARLOS PARRA-PEDROZA~- August 29,"201'4 - rWire`U'anSfel"Of '

`_Three 7 1 ~ _ ' ` ' approximately '
'j " ' $'13-4,4`00 _ f

 

 

 

 

 

 

 

 

'_ :A~11;in violation ofTi_tle 18,;Unitotistnto`slcod'o, `sootions. 1956(a)(1)(Aj(i) and (B)(i)`,~an<_i _ :-

° . 1'8

 

 

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_ FORFEHURE ALLEGA'rroN l ;
nio sPEciAL FEBRUARY"2014 GRAND misz anthot ailegos:
2 1. ' roe ,uuogntionsloontainoa' in counts one enough sixty `Tiueo ofthis~supotse¢_iing
1 Indictment. are realleged and‘incorporated- here for the purpose of alleging.that certain property is '
subject to forfeiture pursuant to Title 18, United States Code, Section 982(a)(1). f t
2. As a result of their violations of Title 18, United States Code, Section 1956, as

alleged' in the Superseding I_n_dictment,
. DIEGO PINEDA SANCHEZ, a/k/a “Botas, ” “Boots, " v
CARLOS PARRA-PEDROZA, a/k/a “Walter, ” “Walt Disney-,” “Willy, ” “Don Walt,” “Ary,”
JOSE ABEL ;MENDOZA_-PARRA, a/k/a “Robin,” -
MARIA LOERA"ALVARADO, a/k/a “Samys@m”
ERNESTO.RUIZ-RAMIREZ,
'.MARIO I~IERRERA,

 
   

¢rEn"el ' AR
_ LUIS‘REYNA-TELLEZ
HECTOR cHAVEz CUEVAS,
JUAN CARLOS NUNEZ GALVEZ,
JOSE sANANToNIo,
PEDRo SAUCEDo-PALOMINOS,
oMA~R_ LoPEz-cABRERA,
VIRGIL DURBIN~,l
vALENTiN RODRIGUEZ,
ALMA LoRE_NA 0RTIz DE RosAs vERA,
cAs-MiRo isAiAs_i_>ADiLLA,
FELiX LEMU`s-GUEVARA,
PEDRO URQUIZA osORIO,
LUIS ARMANDO ACOSTA VIZCARRA,.
JOEL ESTRADA, ~.
HARRANAH' sAMo_RI,
GABRIEL sALcEDo,
' TOMAS sALGADo REYNA,
oscAR'AcosTA,, _
FEDERICO -BARRERA-PEREZ,
' EMMANUEL DIAZ,_
JOSE HERNANDEZ.ocHoA, and:
ALFONSO NEVAREZ, '

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defendants herein, shall forfeit to the United States, pursuant to .'I_`itle 18, United States Code, _
Section, 982(a)(1), any and all right, title and interest in property, real and personal, involved in
such offenses, or any property traceable to such property.
3'. The-interests of the defendants._subj.ect to forfeiture pursuant to Title 18, United
states coils, 'sootion, 982(a)(l), inolutlsl but aia not linnted to, iiinds iii tli_s-_ amount of
b approximately $99,582,100, which includes: v v l
(a) approximately $_98, 779, 066 worth of gold sold to Refinery A;
(b) l approximately $322, 116 worth of gold sold to Refinery B;
(c)- ' approximately $588,787 wired transferred to Bank Account A;
(d) approximately.$138,860 seized from .TUAN CARLOS NUNEZ GALVEZ _on or l
about Jiily 23, 201';4 ana 4 ` ' 7
' -(e) *. approximately $73, 276 seized nom Individual D on or about October 2, 2014.

d 4. If any of the property described above as being subject to forfeitine pursuant to
Title _18, United States Code, Section, 982(a)(_1), as a result of any act or omission of the
defendants: ' dr

_. (a) " Cannot be located upon the exercise of due diligence; _

_ (b) j Has been transferred or sold »_to, or»deposited with, a third party;

(c) Has been placed beyond the jurisdiction of. the Co_urt;
~(d) Has been substantially diminished in value; or .
'(e) ,' .Has been commingled with other property which'- cannot be divided without

l diffieulty,

- 20

 

 

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the United States of America shall be entitled to forfeiture of substitute property, under the b
provisions of Titlo 21, United statos»cod¢, .sootioi_i ass(p),j ss incorporated by ritlo 18, United '_
states codo, sootion, 982(1>)(1~). `

All pursuant to ritlo ls, United status codo, .sootioii 932@(1).

.A`TRUEBII_,L;- .

 

` FoREPERsoN

 

UN"ITED STATES ATTORNEY

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